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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131-TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER
11                                           )   MODIFING THE OBJECTION SCHEDULE
     vs.                                     )
12                                           )   Date: August 30, 2018
     SHANNON ARMSTRONG,                      )   Time: 9:30 a.m.
13                                           )   Judge: Honorable Troy L. Nunley
                          Defendant.         )
14                                           )

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16         The parties hereby stipulate the following:

17         1.    Sentencing in this matter is presently set for August 30, 2018.

18   The request DOES NOT seek to change the presently set sentencing date in this

19   matter.    This stipulation seeks only to modify the existing objection

20   schedule without changing the sentencing date.     Assistant United States

21   Attorney Samuel Wong and United States Probation Officer Anthony Andrews have

22   been advised of this request and have no objection.

23         2. The parties request the Court adopt the following schedule

24   pertaining to the presentence report:
25              Judgment and Sentencing date:                        8/30/18
26
                Reply, or Statement of Non-Opposition;
27              and/or, any sentencing memorandum:                   8/23/18

28              Motion for Correction of the Presentence
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1             Report Shall be filed with the Court and
              served on the Probation Officer and
2             opposing counsel no later than:                  8/13/18
3
              The Presentence Report shall be filed
4
              with the Court And disclosed to counsel
              no later than:                                   7/31/18
5
              Counsel’s written objections to the
6             Presentence Report Shall be delivered
              to the probation officer and opposing
7             Counsel no later than:                           7/19/18
8             The Presentence Report shall be filed
              with the Court And disclosed to counsel
9
              no later than:                                   n/a
10

11         IT IS SO STIPULATED.

12

13   Dated: June 22. 2018                    /S/ John R.Manning
                                             JOHN R. MANNING
14                                           Attorney for Defendant
                                             Shannon Armstrong
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16   Dated: June 22, 2018                    McGregor W. Scott
                                             United States Attorney
17                                           by: /S/ Samuel Wong
                                             SAMUEL WONG
18                                           Assistant United States Attorney

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            Case 2:15-cr-00131-TLN Document 375 Filed 06/26/18 Page 3 of 3


1                                        ORDER

2          The Court having received, read, and considered the parties’

3    stipulation, and good cause appearing therefrom, the Court hereby adopts the

4    parties’ stipulation in its entirety as its order.

5          IT IS SO FOUND AND ORDERED this 26th day of June, 2018.

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9                                             Troy L. Nunley
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                                              United States District Judge

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